Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     John                                                             Charlyn
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Edward                                                           Chantel
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Luster, II                                                       Luster
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2210                                                      xxx-xx-6780
     Individual Taxpayer
     Identification number
     (ITIN)




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
Debtor 1   John Edward Luster, II
Debtor 2   Charlyn Chantel Luster                                                                    Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 15314 Ashley Ct
                                 Macomb, MI 48044-3802
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Macomb
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Middle District of
                                              District    Alabama                       When     3/09/22                Case number      22-30418
                                                          Eastern District of
                                              District    Michigan                      When     7/01/19                Case number      19-49681
                                              District    See Attachment                When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ John Edward Luster, II                                        /s/ Charlyn Chantel Luster
                                 John Edward Luster, II                                            Charlyn Chantel Luster
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     February 7, 2023                                  Executed on     February 7, 2023
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Debtor 1   John Edward Luster, II
Debtor 2   Charlyn Chantel Luster                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Ryan M. Moldovan                                               Date         February 7, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Ryan M. Moldovan P69819
                                Printed name

                                Moldovan Law Firm, PLLC
                                Firm name

                                189 W. Clarkston Rd.
                                Suite 1
                                Lake Orion, MI 48362-2892
                                Number, Street, City, State & ZIP Code

                                Contact phone     (248) 783-7228                             Email address         ecf@moldovanlawfirm.com
                                P69819 MI
                                Bar number & State




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Debtor 1         John Edward Luster, II
Debtor 2         Charlyn Chantel Luster                                                             Case number (if known)


Fill in this information to identify your case:

Debtor 1                John Edward Luster, II
                        First Name                Middle Name             Last Name

Debtor 2                Charlyn Chantel Luster
(Spouse if, filing)     First Name                Middle Name             Last Name


United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                             Case Number                         Date Filed
Middle District of Alabama                                           22-30418                            3/09/22
Eastern District of Michigan                                         19-49681                            7/01/19
Eastern District of Michigan                                         16-42271                            2/22/16
Eastern District of Michigan                                         15-52646                            8/26/15




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
 Fill in this information to identify your case:

 Debtor 1                   John Edward Luster, II
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Charlyn Chantel Luster
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                                                          Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                    Your assets
                                                                                                                                                                    Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                     0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             50,293.96

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             50,293.96

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                    Your liabilities
                                                                                                                                                                    Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             49,788.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                 254.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $            339,150.27


                                                                                                                                     Your total liabilities $                  389,192.27


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $               6,813.81

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $               6,413.81

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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 Debtor 1      John Edward Luster, II
 Debtor 2      Charlyn Chantel Luster                                                     Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $   6,924.47


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $               254.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            162,167.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            162,421.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                23-41061-lsg                Doc 1           Filed 02/07/23      Entered 02/07/23 09:14:53                   Page 10 of 77
Fill in this information to identify your case and this filing:

Debtor 1                    John Edward Luster, II
                            First Name               Middle Name                    Last Name

Debtor 2                    Charlyn Chantel Luster
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       EASTERN DISTRICT OF MICHIGAN

Case number                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Kia                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Sedona                               Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2015                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           170,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Location: Creditor has
         posssession                                       Check if this is community property                             $6,930.00                    $6,930.00
                                                            (see instructions)



  3.2     Make:       RAM                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      1500                                 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2019                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:            41,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Location: 15314 Ashley Ct,
         Macomb MI 48044-3802                              Check if this is community property                            $38,000.00                  $38,000.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1


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Debtor 1       John Edward Luster, II
Debtor 2       Charlyn Chantel Luster                                                                              Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>               $44,930.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Various Household Furniture
                                   Location: 15314 Ashley Ct, Macomb MI 48044-3802                                                                              $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   Various Electronics
                                   Location: 15314 Ashley Ct, Macomb MI 48044-3802                                                                                $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                   Personal Clothing
                                   Location: 15314 Ashley Ct, Macomb MI 48044-3802                                                                              $1,000.00




Official Form 106A/B                                                  Schedule A/B: Property                                                                         page 2


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Debtor 1         John Edward Luster, II
Debtor 2         Charlyn Chantel Luster                                                                                       Case number (if known)

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                           $3,000.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Savings                                 Community Choice Credit Union                                           $0.00



                                            17.2.       Checking                                Community Choice Credit Union                                           $0.00



                                            17.3.       Checking                                Citizen's Bank                                                          $0.00



                                            17.4.       Savings                                 Citizen's Bank                                                          $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
Official Form 106A/B                                       Schedule A/B: Property                                                                                       page 3


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Debtor 1       John Edward Luster, II
Debtor 2       Charlyn Chantel Luster                                                               Case number (if known)

      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                    Institution name:

                                Thrift Saving                     USPS Thrift Savings Plan                                                      $363.96


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                Rental deposit                    Security Deposit with Landlord                                              $2,000.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............     Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......




Official Form 106A/B                                         Schedule A/B: Property                                                                page 4


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Debtor 1        John Edward Luster, II
Debtor 2        Charlyn Chantel Luster                                                                                          Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                  Surrender or refund
                                                                                                                                                                   value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $2,363.96


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00



Official Form 106A/B                                                          Schedule A/B: Property                                                                                page 5


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Debtor 1         John Edward Luster, II
Debtor 2         Charlyn Chantel Luster                                                                                                Case number (if known)

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                    $0.00
56. Part 2: Total vehicles, line 5                                                                           $44,930.00
57. Part 3: Total personal and household items, line 15                                                       $3,000.00
58. Part 4: Total financial assets, line 36                                                                   $2,363.96
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $50,293.96              Copy personal property total          $50,293.96

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $50,293.96




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 6


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Fill in this information to identify your case:

Debtor 1               John Edward Luster, II
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

Debtor 1 Exemptions
  Various Household Furniture                                  $1,500.00                                   $750.00     11 U.S.C. § 522(d)(3)
  Location: 15314 Ashley Ct, Macomb
  MI 48044-3802                                                                    100% of fair market value, up to
  Line from Schedule A/B: 6.1                                                      any applicable statutory limit

     Various Electronics                                           $500.00                                 $250.00     11 U.S.C. § 522(d)(3)
     Location: 15314 Ashley Ct, Macomb
     MI 48044-3802                                                                 100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                   any applicable statutory limit

     Personal Clothing                                         $1,000.00                                   $500.00     11 U.S.C. § 522(d)(3)
     Location: 15314 Ashley Ct, Macomb
     MI 48044-3802                                                                 100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                  any applicable statutory limit

     Savings: Community Choice Credit                                $0.00                                    $0.00    11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.1                                                  100% of fair market value, up to
                                                                                   any applicable statutory limit

     Checking: Community Choice Credit                               $0.00                                    $0.00    11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.2                                                  100% of fair market value, up to
                                                                                   any applicable statutory limit


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 4


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Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                             Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Checking: Citizen's Bank                                      $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Citizen's Bank                                       $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.4
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Thrift Saving: USPS Thrift Savings                         $363.96                                   $363.96        11 U.S.C. § 522(d)(12)
    Plan
    Line from Schedule A/B: 21.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rental deposit: Security Deposit with                   $2,000.00                                  $1,000.00        11 U.S.C. § 522(d)(5)
    Landlord
    Line from Schedule A/B: 22.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 4


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Debtor 1       John Edward Luster, II
Debtor 2       Charlyn Chantel Luster                                                            Case number (if known)


Fill in this information to identify your case:

Debtor 1
                       First Name                    Middle Name                Last Name

Debtor 2               Charlyn Chantel Luster
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

Debtor 2 Exemptions
  Various Household Furniture                                  $1,500.00                                   $750.00        11 U.S.C. § 522(d)(3)
  Location: 15314 Ashley Ct, Macomb
  MI 48044-3802                                                                    100% of fair market value, up to
  Line from Schedule A/B: 6.1                                                      any applicable statutory limit

     Various Electronics                                           $500.00                                 $250.00        11 U.S.C. § 522(d)(3)
     Location: 15314 Ashley Ct, Macomb
     MI 48044-3802                                                                 100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                   any applicable statutory limit

     Personal Clothing                                         $1,000.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Location: 15314 Ashley Ct, Macomb
     MI 48044-3802                                                                 100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                  any applicable statutory limit

     Savings: Community Choice Credit                                $0.00                                    $0.00       11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.1                                                  100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                        page 3 of 4


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Debtor 1    John Edward Luster, II
Debtor 2    Charlyn Chantel Luster                                                             Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B
    Checking: Community Choice Credit                             $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Union
    Line from Schedule A/B: 17.2                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Citizen's Bank                                      $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rental deposit: Security Deposit with                   $2,000.00                                  $1,000.00        11 U.S.C. § 522(d)(5)
    Landlord
    Line from Schedule A/B: 22.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 4 of 4


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Fill in this information to identify your case:

Debtor 1                   John Edward Luster, II
                           First Name                        Middle Name                      Last Name

Debtor 2                   Charlyn Chantel Luster
(Spouse if, filing)        First Name                        Middle Name                      Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                                        Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
        Bridgecrest Acceptance
2.1                                                Describe the property that secures the claim:                $38,485.00               $38,000.00               $485.00
        Corp
        Creditor's Name                            2019 RAM 1500 41,000 miles
        7300 East Hampton                          Location: 15314 Ashley Ct, Macomb
        Avenue                                     MI 48044-3802
                                                   As of the date you file, the claim is: Check all that
        Suite 100                                  apply.
        Mesa, AZ 85209                                 Contingent
        Number, Street, City, State & Zip Code         Unliquidated
                                                       Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
      community debt

                                Opened
                                12/22 Last
                                Active
Date debt was incurred          12/31/22                    Last 4 digits of account number        8301




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2


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Debtor 1 John Edward Luster, II                                                                              Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Charlyn Chantel Luster
              First Name                  Middle Name                      Last Name


2.2     Guardian Credit Union                      Describe the property that secures the claim:                    $11,303.00            $6,930.00      $4,373.00
        Creditor's Name                            2015 Kia Sedona 170,000 miles
        Attn: Bankruptcy                           Location: Creditor has posssession
        Department
                                                   As of the date you file, the claim is: Check all that
        418 Madison Ave                            apply.
        Madison, AL 36104                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                08/21 Last
                                Active
Date debt was incurred          1/31/23                     Last 4 digits of account number         0002



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $49,788.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $49,788.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2


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Fill in this information to identify your case:

Debtor 1                     John Edward Luster, II
                             First Name                    Middle Name                       Last Name

Debtor 2                     Charlyn Chantel Luster
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Alabama Department of Revenue                       Last 4 digits of account number         2210                 $253.00              $253.00                 $0.00
             Priority Creditor's Name
             Legal Division                                      When was the debt incurred?             2021
             PO Box 320001
             Montgomery, AL 36132
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Income Tax




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 25
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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                           Case number (if known)

2.2        Michigan Department of Treasury                        Last 4 digits of account number       2210                      $1.00                  $1.00                  $0.00
           Priority Creditor's Name
           Bankruptcy Unit                                        When was the debt incurred?           2021
           P.O. Box 30168
           Lansing, MI 48909
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          Income Taxes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        ACAR Leasing LTD                                          Last 4 digits of account number                                                                   $10,775.52
           Nonpriority Creditor's Name
           d/b/a GM Financial Leasing                                When was the debt incurred?             2020
           PO Box 183853
           Arlington, TX 76096
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.2      Affirm, Inc.                                        Last 4 digits of account number       GJI9                                              $332.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/17 Last Active
         30 Isabella St, Floor 4                             When was the debt incurred?           8/04/17
         Pittsburgh, PA 15212
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.3      Affirm, Inc.                                        Last 4 digits of account number       VG3Z                                              $320.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/17 Last Active
         30 Isabella St, Floor 4                             When was the debt incurred?           6/09/17
         Pittsburgh, PA 15212
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.4      Affirm, Inc.                                        Last 4 digits of account number       87SQ                                              $258.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/17 Last Active
         30 Isabella St, Floor 4                             When was the debt incurred?           6/09/17
         Pittsburgh, PA 15212
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.5      Alabama Power                                       Last 4 digits of account number       9278                                              $334.49
         Nonpriority Creditor's Name
         PO Box 830728                                       When was the debt incurred?           2022
         Birmingham, AL 35283
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility


         American Bankers Insurance
4.6      Company of Fl                                       Last 4 digits of account number       1642                                               $53.60
         Nonpriority Creditor's Name
         23852 Network Place                                 When was the debt incurred?           2021
         Chicago, IL 60673-1238
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Insurance Bill


4.7      AT&T                                                Last 4 digits of account number       3545                                             $2,173.88
         Nonpriority Creditor's Name
         c/o Bankruptcy                                      When was the debt incurred?           2022
         4331 Communications Dr
         Flr 4w
         Dallas, TX 75211
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Wireless Bill




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.8      Beaumont Health System                              Last 4 digits of account number       7168                                              $172.55
         Nonpriority Creditor's Name
         Business Center                                     When was the debt incurred?           2019
         750 Stephenson Highway
         PO Box 5042
         Troy, MI 48007-5042
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.9      Beaumont Health System                              Last 4 digits of account number       5290                                               $15.00
         Nonpriority Creditor's Name
         Business Center                                     When was the debt incurred?           2019
         750 Stephenson Highway
         PO Box 5042
         Troy, MI 48007-5042
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.1
0        Beaumont Health System                              Last 4 digits of account number       2019                                              $924.00
         Nonpriority Creditor's Name
         Business Center                                     When was the debt incurred?           2019
         750 Stephenson Highway
         PO Box 5042
         Troy, MI 48007-5042
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.1
1        CFNA/Credit First Natl Assoc                        Last 4 digits of account number       1982                                             $1,587.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 06/22 Last Active
         Po Box 81315                                        When was the debt incurred?           1/23/23
         Cleveland, OH 44181
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
2        Comcast                                             Last 4 digits of account number       4475                                              $103.35
         Nonpriority Creditor's Name
         PO Box 3005                                         When was the debt incurred?           2022
         Southeastern, PA 19398
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cell Phone Bill


4.1
3        Consumers Energy                                    Last 4 digits of account number       3565                                             $1,101.57
         Nonpriority Creditor's Name
         1 Energy Plaza Dr.                                  When was the debt incurred?           2020
         Jackson, MI 49201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.1
4        Convergent Outsourcing, Inc                         Last 4 digits of account number       6751                                              $806.23
         Nonpriority Creditor's Name
         800 SW 39th St.                                     When was the debt incurred?           2022
         P.O. Box 9004
         Renton, WA 98057
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection for Comcast


4.1
5        Convergent Outsourcing, Inc                         Last 4 digits of account number       0001                                             $8,981.92
         Nonpriority Creditor's Name
         800 SW 39th St.                                     When was the debt incurred?           2022
         P.O. Box 9004
         Renton, WA 98057
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection for Verizon Wireless


4.1      Credence Resource Management,
6        LLC                                                 Last 4 digits of account number       2451                                             $2,144.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           Opened 9/24/22
         4222 Trinity Mills Road Suite 260
         Dallas, TX 75287
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   11 At T




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.1
7        Credit Acceptance                                   Last 4 digits of account number       8523                                         $16,311.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/16 Last Active
         25505 West 12 Mile Road Ste 3000                    When was the debt incurred?           8/20/21
         Southfield, MI 48034
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Automobile


4.1
8        Credit Collection Services                          Last 4 digits of account number       4122                                              $512.24
         Nonpriority Creditor's Name
         725 Canton Street                                   When was the debt incurred?           2020
         Norwood, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection for Geico


4.1
9        Credit One Bank                                     Last 4 digits of account number       6506                                              $574.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                                                               Opened 06/21 Last Active
         Po Box 98873                                        When was the debt incurred?           2/18/22
         Las Vegas, NV 89193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.2
0        CreditFirst National Association                    Last 4 digits of account number       1982                                             $2,000.00
         Nonpriority Creditor's Name
         BK-16/Credit Operations                             When was the debt incurred?           2022
         PO Box 81410
         Cleveland, OH 44181-0410
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
1        DTE                                                 Last 4 digits of account number       2776                                              $401.98
         Nonpriority Creditor's Name
         One Energy Plaza                                    When was the debt incurred?           2019
         WCB 2160 Bankruptcy
         Detroit, MI 48226
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility


4.2
2        EdFinancial Services                                Last 4 digits of account number       3089                                         $53,678.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/16 Last Active
         Po Box 36008                                        When was the debt incurred?           12/17/22
         Knoxville, TN 37930
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.2
3        EdFinancial Services                                Last 4 digits of account number       2989                                         $29,249.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/16 Last Active
         Po Box 36008                                        When was the debt incurred?           12/17/22
         Knoxville, TN 37930
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.2
4        Endodontic Associates                               Last 4 digits of account number       9996                                               $71.67
         Nonpriority Creditor's Name
         15870 19 Mile Rd                                    When was the debt incurred?           2019
         Ste 110
         Clinton Township, MI 48038
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Dental


4.2
5        First Premier Bank                                  Last 4 digits of account number       1768                                              $822.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 06/21 Last Active
         Po Box 5524                                         When was the debt incurred?           03/22
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.2
6        First Premier Bank                                  Last 4 digits of account number       6641                                              $500.00
         Nonpriority Creditor's Name
                                                                                                   Opened 10/22 Last Active
                                                             When was the debt incurred?           1/18/23
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
7        First Premier Bank                                  Last 4 digits of account number       5696                                              $499.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/20 Last Active
         Po Box 5524                                         When was the debt incurred?           03/22
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
8        Fortiva                                             Last 4 digits of account number       3340                                             $1,091.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/22 Last Active
         Po Box 105555                                       When was the debt incurred?           01/23
         Atlanta, GA 30348
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.2
9        Geico Indemnity Company                             Last 4 digits of account number       5942                                             $2,719.01
         Nonpriority Creditor's Name
         1 Geico Plaza                                       When was the debt incurred?           2022
         Bethesda, MD 20811-0001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Insurance


4.3
0        Genisis FS Card Services                            Last 4 digits of account number       5439                                              $543.43
         Nonpriority Creditor's Name
         PO Box 41477                                        When was the debt incurred?           2019
         Beaverton, OR 97076-4477
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3
1        Guardian Credit Union                               Last 4 digits of account number       0094                                             $2,316.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                                                               Opened 05/20 Last Active
         418 Madison Ave                                     When was the debt incurred?           3/16/22
         Madison, AL 36104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.3
2        Guardian Credit Union                               Last 4 digits of account number       0071                                               $22.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                                                               Opened 05/20 Last Active
         418 Madison Ave                                     When was the debt incurred?           5/31/22
         Madison, AL 36104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Deposit Related


4.3
3        Helvey & Associates                                 Last 4 digits of account number       3267                                              $249.78
         Nonpriority Creditor's Name
         1015 E Center Street                                When was the debt incurred?           2019
         Warsaw, IN 46580
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.3
4        J.J. Marshall & Associates                          Last 4 digits of account number       4833                                             $3,710.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           Opened 6/12/20
         28820 Mound Road
         Warren, MI 48092
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   09 Drawbridge Apartments East




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Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.3
5        Jefferson Capital Systems, LLC                      Last 4 digits of account number                                                        $1,537.07
         Nonpriority Creditor's Name
         PO Box 7999                                         When was the debt incurred?
         Saint Cloud, MN 56302-9617
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.3
6        Jefferson Capital Systems, LLC                      Last 4 digits of account number       6003                                              $437.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 4/19/22 Last Active
         16 Mcleland Road                                    When was the debt incurred?           09/21
         Saint Cloud, MN 56303
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   12 Mc World Standard


4.3
7        Lincare Inc                                         Last 4 digits of account number       6740                                              $241.04
         Nonpriority Creditor's Name
         PO Box 690397                                       When was the debt incurred?           2019
         Orlando, FL 32869
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical




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Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.3
8        LVNV Funding                                        Last 4 digits of account number                                                         $633.26
         Nonpriority Creditor's Name
         Resurgent Capital Services                          When was the debt incurred?
         PO Box 10587
         Greenville, SC 29603-0587
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.3
9        LVNV Funding                                        Last 4 digits of account number                                                         $519.30
         Nonpriority Creditor's Name
         Resurgent Capital Services                          When was the debt incurred?
         PO Box 10587
         Greenville, SC 29603-0587
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.4
0        LVNV Funding                                        Last 4 digits of account number                                                        $1,222.61
         Nonpriority Creditor's Name
         Resurgent Capital Services                          When was the debt incurred?
         PO Box 10587
         Greenville, SC 29603-0587
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection




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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.4
1        Merchants & Medical                                 Last 4 digits of account number       4168                                             $3,293.47
         Nonpriority Creditor's Name
         6324 Taylor Dr                                      When was the debt incurred?           2021
         Flint, MI 48507
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection for Universal Dedicated Inc


4.4      Michigan Unemployment Insurance
2        Agency                                              Last 4 digits of account number       5520                                         $51,832.00
         Nonpriority Creditor's Name
         3030 W. Grand Blvd., Ste. 9-600                     When was the debt incurred?           2022
         Detroit, MI 48202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unemployment Overpayment


4.4      Michigan Unemployment Insurance
3        Agency                                              Last 4 digits of account number       7472                                         $33,440.00
         Nonpriority Creditor's Name
         3030 W. Grand Blvd., Ste. 9-600                     When was the debt incurred?           2022
         Detroit, MI 48202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unemployment Overpayment




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Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.4
4        Midland Credit Management                           Last 4 digits of account number                                                        $3,022.00
         Nonpriority Creditor's Name
         PO Box 2037                                         When was the debt incurred?
         Warren, MI 48090
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.4
5        Navient                                             Last 4 digits of account number       1010                                              $301.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 02/99 Last Active
         Po Box 9500                                         When was the debt incurred?           9/30/19
         Wilkes-Barre, PA 18773
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.4
6        Navient Solutions LLC on behalf of                  Last 4 digits of account number                                                        $1,557.00
         Nonpriority Creditor's Name
         Michigan Guaranty Agency                            When was the debt incurred?           1999
         c/o ECMC
         PO Box 16358
         Saint Paul, MN 55116
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Student Loan




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Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.4
7        Northpointe Pediatrics                              Last 4 digits of account number       3961                                              $500.00
         Nonpriority Creditor's Name
         30061 Schoenherr Rd. # A                            When was the debt incurred?           2019
         Warren, MI 48088
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.4
8        PennCredit Corporation                              Last 4 digits of account number       0693                                               $14.22
         Nonpriority Creditor's Name
         2800 Commerce Drive                                 When was the debt incurred?           2022
         Harrisburg, PA 17110
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection for Consumers Energy


4.4
9        Physicians to Children                              Last 4 digits of account number       4170                                              $125.00
         Nonpriority Creditor's Name
         470 Taylor Rd                                       When was the debt incurred?           2022
         Ste 210
         Montgomery, AL 36117-3532
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical




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Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.5
0        PNC Bank                                            Last 4 digits of account number                                                         $500.00
         Nonpriority Creditor's Name
         Attn Bankruptcy Dept                                When was the debt incurred?           2022
         PO Box 489909
         Charlotte, NC 28269-5329
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Bank Overdraft


4.5
1        Portfolio Recovery Associates, LLC                  Last 4 digits of account number       7572                                              $487.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 5/30/18 Last Active
         120 Corporate Boulevard                             When was the debt incurred?           10/17
         Norfolk, VA 23502
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   08 Comenity Bank


4.5
2        Premier Bankcard, LLC                               Last 4 digits of account number                                                         $499.46
         Nonpriority Creditor's Name
         Jefferson Capital Systems LLC                       When was the debt incurred?
         Assignee
         PO Box 7999
         Saint Cloud, MN 56302-9617
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 19 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.5
3        Premier Bankcard, LLC                               Last 4 digits of account number                                                         $822.26
         Nonpriority Creditor's Name
         Jefferson Capital Systems LLC                       When was the debt incurred?
         Assignee
         PO Box 7999
         Saint Cloud, MN 56302-9617
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.5
4        Professional Recovery Inc                           Last 4 digits of account number       8190                                               $99.04
         Nonpriority Creditor's Name
         7319 West Jefferson Blvd                            When was the debt incurred?           2019
         Fort Wayne, IN 46804-6237
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection


4.5
5        Sallie Mae, Inc                                     Last 4 digits of account number       0218                                         $78,939.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/16 Last Active
         Po Box 9500                                         When was the debt incurred?           12/21/22
         Wilkes Barre, PA 18773
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 20 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.5
6        Spire                                               Last 4 digits of account number       2222                                              $116.64
         Nonpriority Creditor's Name
         PO Box 2224                                         When was the debt incurred?           2022
         Birmingham, AL 35246-0022
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility


4.5
7        Sterling Landing Apartments                         Last 4 digits of account number                                                        $4,000.00
         Nonpriority Creditor's Name
         34792 Oceanview Dr                                  When was the debt incurred?
         Sterling Heights, MI 48312
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unpaid Rent


4.5
8        Sturbridge Commons LP                               Last 4 digits of account number       9700                                             $3,390.00
         Nonpriority Creditor's Name
         c/o Darby Law Firm LLC                              When was the debt incurred?           2022
         PO Box 3905
         Montgomery, AL 36109
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unpaid Rent




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 21 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.5
9        Surge Card                                          Last 4 digits of account number       6518                                              $424.12
         Nonpriority Creditor's Name
         Cardholder Services                                 When was the debt incurred?           2022
         PO Box 3220
         Buffalo, NY 14240
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6
0        T-Mobile Bankruptcy Team                            Last 4 digits of account number       666                                              $1,500.00
         Nonpriority Creditor's Name
         PO Box 53410                                        When was the debt incurred?           2022
         Bellevue, WA 98015
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cell Phone Bill


4.6
1        The Huntington National Bank                        Last 4 digits of account number       4014                                              $300.00
         Nonpriority Creditor's Name
         PO Box 1558                                         When was the debt incurred?           2019
         Columbus, OH 43216
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Bank Debt




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 22 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                  Case number (if known)

4.6
2        Universal Utilities                                 Last 4 digits of account number       9200                                              $295.67
         Nonpriority Creditor's Name
         PO Box 190539                                       When was the debt incurred?           2019
         Burton, MI 48519-0539
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility


4.6
3        Verizon                                             Last 4 digits of account number       0001                                             $1,476.07
         Nonpriority Creditor's Name
         by American InfoSource as agent                     When was the debt incurred?           2022
         PO Box 44757
         Houston, TX 77210-4457
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cell Phone Service


4.6
4        Verizon Wireless                                    Last 4 digits of account number       0001                                             $1,537.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 09/18 Last Active
         500 Technology Dr, Ste 599                          When was the debt incurred?           06/19
         Weldon Springs, MO 63304
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cell Phone




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 23 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                    Case number (if known)

4.6
5         WOW Business                                         Last 4 digits of account number       5585                                                    $306.74
          Nonpriority Creditor's Name
          PO Box 4350                                          When was the debt incurred?           2022
          Carol Stream, IL 60197
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Cable


4.6
6         Xfinity                                              Last 4 digits of account number       5740                                                    $429.08
          Nonpriority Creditor's Name
          41112 Concept Dr                                     When was the debt incurred?           2022
          Plymouth, MI 48170-4253
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Cable

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Convergent Outsourcing, Inc                              Line 4.63 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
800 SW 39th St.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 9004
Renton, WA 98057
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
District Court of Montgomery                             Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
County                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
251 S. Lawrence Street
Attn Clerk: Case No.
DV-2022-900497.00
Montgomery, AL 36104
                                                         Last 4 digits of account number


Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 24 of 25



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Debtor 1 John Edward Luster, II
Debtor 2 Charlyn Chantel Luster                                                                         Case number (if known)

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                        0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                      254.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                      254.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $              162,167.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              176,983.27

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              339,150.27




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 25 of 25



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Fill in this information to identify your case:

Debtor 1                  John Edward Luster, II
                          First Name                         Middle Name            Last Name

Debtor 2                  Charlyn Chantel Luster
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Kol Miculi                                                                 Lease for Primary Residence
              47709 Milomas Dr
              Shelby Township, MI 48315

     2.2      Progressive Leasing                                                        Lease for Consumer Items
              256 West Data Drive
              Draper, UT 84020




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


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Fill in this information to identify your case:

Debtor 1                   John Edward Luster, II
                           First Name                           Middle Name          Last Name

Debtor 2                   Charlyn Chantel Luster
(Spouse if, filing)        First Name                           Middle Name          Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:


   3.1         Earlene Henderson                                                                        Schedule D, line   2.1
               18443 Sharon Ln                                                                          Schedule E/F, line
               Roseville, MI 48066
                                                                                                       Schedule G
                                                                                                     Bridgecrest Acceptance Corp




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1

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Fill in this information to identify your case:

Debtor 1                      John Edward Luster, II

Debtor 2                      Charlyn Chantel Luster
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF MICHIGAN

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Truck Driver                               Mail Carrier
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       USPS                                       USPS

       Occupation may include student        Employer's address    Accounting Service Center                  Accounting Service Center
       or homemaker, if it applies.                                2825 Lone Oak Pkwy                         2825 Lone Oak Pkwy
                                                                   Saint Paul, MN 55121-9640                  Saint Paul, MN 55121-9640

                                             How long employed there?         4 months                                 5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,083.87      $          4,339.51

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,083.87            $    4,339.51




Official Form 23-41061-lsg
              106I                       Doc 1      Filed 02/07/23 Schedule
                                                                     Entered     02/07/23
                                                                            I: Your Income 09:14:53                     Page 50 of 77           page 1
Debtor 1   John Edward Luster, II
Debtor 2   Charlyn Chantel Luster                                                                Case number (if known)



                                                                                                     For Debtor 1           For Debtor 2 or
                                                                                                                            non-filing spouse
     Copy line 4 here                                                                     4.         $      5,083.87        $         4,339.51

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        901.38        $           566.09
     5b.    Mandatory contributions for retirement plans                                  5b.        $        231.31        $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $        254.19        $             0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00        $             0.00
     5e.    Insurance                                                                     5e.        $        182.85        $           338.00
     5f.    Domestic support obligations                                                  5f.        $          0.00        $             0.00
     5g.    Union dues                                                                    5g.        $         68.34        $            67.41
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +      $             0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,638.07        $           971.50
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,445.80        $        3,368.01
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00    $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00    $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00    $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00    $                0.00
     8e. Social Security                                                                  8e.        $              0.00    $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00    $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,445.80 + $        3,368.01 = $            6,813.81
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $           6,813.81
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 23-41061-lsg
              106I                  Doc 1        Filed 02/07/23 Schedule
                                                                  Entered     02/07/23
                                                                         I: Your Income 09:14:53                           Page 51 of 77              page 2
Fill in this information to identify your case:

Debtor 1                 John Edward Luster, II                                                             Check if this is:
                                                                                                                An amended filing
Debtor 2                 Charlyn Chantel Luster                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN                                                MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for    Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............     Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                        No
      dependents names.                                                             Son                                  6                    Yes
                                                                                                                                              No
                                                                                    Daughter                             10                   Yes
                                                                                                                                              No
                                                                                    Son                                  11                   Yes
                                                                                                                                              No
                                                                                    Daughter                             16                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             1,350.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                 0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
             23-41061-lsg              Doc 1        Filed 02/07/23                 Entered 02/07/23 09:14:53                     Page 52 of 77
Debtor 1     John Edward Luster, II
Debtor 2     Charlyn Chantel Luster                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                260.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                425.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,200.00
8.    Childcare and children’s education costs                                                 8. $                                               100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                200.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 700.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                 455.81
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  500.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  823.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,413.81
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,413.81
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,813.81
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,413.81

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 400.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
           23-41061-lsg               Doc 1         Filed 02/07/23              Entered 02/07/23 09:14:53                         Page 53 of 77
Fill in this information to identify your case:

Debtor 1                    John Edward Luster, II
                            First Name               Middle Name              Last Name

Debtor 2                    Charlyn Chantel Luster
(Spouse if, filing)         First Name               Middle Name              Last Name


United States Bankruptcy Court for the:       EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                      Check if this is an
                                                                                                                                amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                    12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ John Edward Luster, II                                           X   /s/ Charlyn Chantel Luster
             John Edward Luster, II                                               Charlyn Chantel Luster
             Signature of Debtor 1                                                Signature of Debtor 2

             Date       February 7, 2023                                          Date    February 7, 2023




Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules




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Fill in this information to identify your case:

Debtor 1                  John Edward Luster, II
                          First Name                  Middle Name                   Last Name

Debtor 2                  Charlyn Chantel Luster
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF MICHIGAN

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there
       204 Seaton Circle                                  From-To:                         Same as Debtor 1                                    Same as Debtor 1
       Montgomery, AL 36116                               January 2020                                                                      From-To:
                                                          -July 2022


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $10,509.82            Wages, commissions,                 $5,449.44
the date you filed for bankruptcy:
                                               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1


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Debtor 1     John Edward Luster, II
Debtor 2     Charlyn Chantel Luster                                                                    Case number (if known)


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                            Wages, commissions,                      $12,000.00            Wages, commissions,               $4,800.00
(January 1 to December 31, 2022 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business

For the calendar year before that:                 Wages, commissions,                      $23,000.00            Wages, commissions,               $3,000.00
(January 1 to December 31, 2021 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
For the calendar year before that:              Unemployment                                $13,672.00
(January 1 to December 31, 2021 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2


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Debtor 1     John Edward Luster, II
Debtor 2     Charlyn Chantel Luster                                                                   Case number (if known)


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                          Status of the case
      Case number
      Sturbridge Commons LP v.                            Eviction                     District Court of                           Pending
      Henderson Charlyn Chantel                                                        Montgomery County, AL                       On appeal
      DV-2022-900497.00                                                                251 S. Lawrence Street
                                                                                                                                   Concluded
                                                                                       Montgomery, AL 36104


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                          Date                        Value of the
                                                                                                                                                        property
                                                          Explain what happened
      Guardian Credit Union                               2015 Kia Sedona 170,000 miles                                  1/30/23                      $6,930.00
      Attn: Bankruptcy Department                         Location: Creditor has posssession
      418 Madison Ave
      Madison, AL 36104                                       Property was repossessed.
                                                              Property was foreclosed.
                                                              Property was garnished.
                                                              Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                          Date action was                Amount
                                                                                                                         taken




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3


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Debtor 1     John Edward Luster, II
Debtor 2     Charlyn Chantel Luster                                                                      Case number (if known)


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave               Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)
      New Life Church of God                                       Cash Contributions                                       past year                $7,200.00
      5600 Carriage Hills Dr
      Montgomery, AL 36116


Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                                                                                                 loss                           lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Moldovan Law Firm, PLLC                                      Attorney Fees                                            2/6/23                    $123.00
      189 W. Clarkston Rd.
      Suite 1
      Lake Orion, MI 48362-2892
      ecf@moldovanlawfirm.com




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4


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Debtor 1      John Edward Luster, II
Debtor 2      Charlyn Chantel Luster                                                                     Case number (if known)


      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Access Counseling, Inc.                                      Credit Counseling                                        1/4/23                      $12.95
      633 W. 5th Street
      Suite 26001
      Los Angeles, CA 90071
      www.accessbk.org


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred
      PNC Bank                                               XXXX-                          Checking                  8/2022                              $0.00
      4661 E. Main St.                                                                      Savings
      Columbus, OH 43251
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5


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Debtor 1      John Edward Luster, II
Debtor 2      Charlyn Chantel Luster                                                                          Case number (if known)


      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was           Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,          before closing or
      Code)                                                                                                              moved, or                       transfer
                                                                                                                         transferred
      Citizens Bank                                          XXXX-                              Checking                 12/22                             $0.00
      One Citizens Plaza                                                                        Savings
      Providence, RI 02903
                                                                                                Money Market
                                                                                                Brokerage
                                                                                                Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents             Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents             Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                        Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you      Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6


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Debtor 1      John Edward Luster, II
Debtor 2      Charlyn Chantel Luster                                                                         Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                 Court or agency                            Nature of the case                   Status of the
       Case Number                                                Name                                                                            case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business                   Employer Identification number
       Address                                                                                                    Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                  Dates business existed
       CJMI Carriers LLC                                    Trucking                                              EIN:
       34692 Aqua Ln
       Sterling Heights, MI 48312                                                                                 From-To    2016-2019


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ John Edward Luster, II                                            /s/ Charlyn Chantel Luster
John Edward Luster, II                                                Charlyn Chantel Luster
Signature of Debtor 1                                                 Signature of Debtor 2

Date      February 7, 2023                                            Date       February 7, 2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7


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Debtor 1     John Edward Luster, II
Debtor 2     Charlyn Chantel Luster                                                          Case number (if known)


   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person       . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8


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                                                  United States Bankruptcy Court
                                                           Eastern District of Michigan
         John Edward Luster, II
 In re   Charlyn Chantel Luster                                                                          Case No.
                                                                           Debtor(s)                     Chapter       13


                                               STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                  PURSUANT TO F.R.BANKR.P. 2016(b)
         The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.       The undersigned is the attorney for the Debtor(s) in this case.
2.       The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]


         [X]       RETAINER/FLAT FEE BLEND
          A.       Pursuant to retainer agreement
                   The client agrees to compensate Ryan M. Moldovan P69819 in such amount as is approved by the Bankruptcy Court in
                   accordance with the terms and conditions of the Chapter 13 Plan. The minimum fee for services in connection with a confirmed
                   chapter 13 Plan shall be $3,500.00 based upon the hourly rate of the services performed by the Firm. The actual fee shall be
                   that which is approved by the court subject to the minimum charged of $3,500.00 and if the time devoted to such tasks exceeds
                   $3,500.00, then the fee shall be such amount based upon the hourly charges for the services performed subject to approval by
                   the Court.
         B.        Agreed fee (subject to hourly billing if fees exceed $3,500.00)                            3,500.00
                    Fees received prior to the case                                                                  123.00
                    Balance due (subject to hourly billing if the fee exceeds ($3,500.00)                           3,377.00
3.       $    313.00    of the filing fee has been paid.
4.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
         that do not apply.]
         A.        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                   bankruptcy;
         B.        Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         C.        Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         D.        Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         E.        Reaffirmations;
         F.        Redemptions;
         G.        Other:
                   Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                   reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                   522(f)(2)(A) for avoidance of liens on household goods.
5.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                  Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                  actions or any other adversary proceeding. Any post-confirmation work.
6.       The source of payments to the undersigned was from:
          A.        XX              Debtor(s)' earnings, wages, compensation for services performed
          B.                        Other (describe, including the identity of payor)




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7.        The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
          corporation, any compensation paid or to be paid except as follows:

Dated:      February 7, 2023                                                             /s/ Ryan M. Moldovan
                                                                                         Attorney for the Debtor(s)
                                                                                         Ryan M. Moldovan
                                                                                         Moldovan Law Firm, PLLC
                                                                                         189 W. Clarkston Rd.
                                                                                         Suite 1
                                                                                         Lake Orion, MI 48362-2892
                                                                                         (248) 783-7228
                                                                                         ecf@moldovanlawfirm.com
                                                                                         P69819 MI

Agreed:     /s/ John Edward Luster, II                                                   /s/ Charlyn Chantel Luster
            John Edward Luster, II                                                       Charlyn Chantel Luster
            Debtor                                                                       Debtor




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1


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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2


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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3


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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4


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                                              United States Bankruptcy Court
                                                    Eastern District of Michigan
         John Edward Luster, II
 In re   Charlyn Chantel Luster                                                                Case No.
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: February 7, 2023                                 /s/ John Edward Luster, II
                                                       John Edward Luster, II
                                                       Signature of Debtor

Date: February 7, 2023                                 /s/ Charlyn Chantel Luster
                                                       Charlyn Chantel Luster
                                                       Signature of Debtor




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                           Experian (Notice)
                           PO Box 9554
                           Allen, TX 75013


                           Equifax (Notice)
                           PO Box 740256
                           Atlanta, GA 30374


                           TransUnion (Notice)
                           Po Box 2000
                           Chester, PA 19022


                           Chex Systems, Inc. (NOTICE)
                           Attn: Consumer Relations
                           7805 Hudson Road
                           Suite 100
                           Woodbury, MN 55125


                           Internal Revenue Service
                           Centralized Insolvency Operations
                           PO Box 7346
                           Philadelphia, PA 19101-7346


                           State of MI Dept. of Treasury
                           Bankruptcy Unit
                           P.O. Box 30168
                           Lansing, MI 48909


                           TeleCheck Services, Inc.
                           PO Box 6806
                           Hagerstown, MD 21741-6806


                           United States Attorneys Office
                           Attn: Civil Division
                           211 W. Fort Street, Suite 2001
                           Detroit, MI 48226


                           MICHIGAN DHHS OFFICE OF CHILD SUPPORT
                           PO BOX 30478
                           Lansing, MI 48909-7978


                           State of Michigan Unemployment Insurance
                           Attn Bankruptcy Unit
                           3024 W Grand Blvd
                           Suite 12-100
                           Detroit, MI 48202-6024

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                       ACAR Leasing LTD
                       d/b/a GM Financial Leasing
                       PO Box 183853
                       Arlington, TX 76096


                       Affirm, Inc.
                       Attn: Bankruptcy
                       30 Isabella St, Floor 4
                       Pittsburgh, PA 15212


                       Alabama Department of Revenue
                       Legal Division
                       PO Box 320001
                       Montgomery, AL 36132


                       Alabama Power
                       PO Box 830728
                       Birmingham, AL 35283


                       American Bankers Insurance Company of Fl
                       23852 Network Place
                       Chicago, IL 60673-1238


                       AT&T
                       c/o Bankruptcy
                       4331 Communications Dr
                       Flr 4w
                       Dallas, TX 75211


                       Beaumont Health System
                       Business Center
                       750 Stephenson Highway
                       PO Box 5042
                       Troy, MI 48007-5042


                       Bridgecrest Acceptance Corp
                       7300 East Hampton Avenue
                       Suite 100
                       Mesa, AZ 85209


                       CFNA/Credit First Natl Assoc
                       Attn: Bankruptcy
                       Po Box 81315
                       Cleveland, OH 44181




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                       Comcast
                       PO Box 3005
                       Southeastern, PA 19398


                       Consumers Energy
                       1 Energy Plaza Dr.
                       Jackson, MI 49201


                       Convergent Outsourcing, Inc
                       800 SW 39th St.
                       P.O. Box 9004
                       Renton, WA 98057


                       Credence Resource Management, LLC
                       Attn: Bankruptcy
                       4222 Trinity Mills Road Suite 260
                       Dallas, TX 75287


                       Credit Acceptance
                       Attn: Bankruptcy
                       25505 West 12 Mile Road Ste 3000
                       Southfield, MI 48034


                       Credit Collection Services
                       725 Canton Street
                       Norwood, MA 02062


                       Credit One Bank
                       Attn: Bankruptcy Department
                       Po Box 98873
                       Las Vegas, NV 89193


                       CreditFirst National Association
                       BK-16/Credit Operations
                       PO Box 81410
                       Cleveland, OH 44181-0410


                       District Court of Montgomery County
                       251 S. Lawrence Street
                       Attn Clerk: Case No. DV-2022-900497.00
                       Montgomery, AL 36104


                       DTE
                       One Energy Plaza
                       WCB 2160 Bankruptcy
                       Detroit, MI 48226

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                       Earlene Henderson
                       18443 Sharon Ln
                       Roseville, MI 48066


                       EdFinancial Services
                       Attn: Bankruptcy
                       Po Box 36008
                       Knoxville, TN 37930


                       Endodontic Associates
                       15870 19 Mile Rd
                       Ste 110
                       Clinton Township, MI 48038


                       First Premier Bank
                       Attn: Bankruptcy
                       Po Box 5524
                       Sioux Falls, SD 57117


                       First Premier Bank



                       Fortiva
                       Attn: Bankruptcy
                       Po Box 105555
                       Atlanta, GA 30348


                       Geico Indemnity Company
                       1 Geico Plaza
                       Bethesda, MD 20811-0001


                       Genisis FS Card Services
                       PO Box 41477
                       Beaverton, OR 97076-4477


                       Guardian Credit Union
                       Attn: Bankruptcy Department
                       418 Madison Ave
                       Madison, AL 36104


                       Helvey & Associates
                       1015 E Center Street
                       Warsaw, IN 46580




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                       J.J. Marshall & Associates
                       Attn: Bankruptcy
                       28820 Mound Road
                       Warren, MI 48092


                       Jefferson Capital Systems, LLC
                       PO Box 7999
                       Saint Cloud, MN 56302-9617


                       Jefferson Capital Systems, LLC
                       Attn: Bankruptcy
                       16 Mcleland Road
                       Saint Cloud, MN 56303


                       Kol Miculi
                       47709 Milomas Dr
                       Shelby Township, MI 48315


                       Lincare Inc
                       PO Box 690397
                       Orlando, FL 32869


                       LVNV Funding
                       Resurgent Capital Services
                       PO Box 10587
                       Greenville, SC 29603-0587


                       Merchants & Medical
                       6324 Taylor Dr
                       Flint, MI 48507


                       Michigan Department of Treasury
                       Bankruptcy Unit
                       P.O. Box 30168
                       Lansing, MI 48909


                       Michigan Unemployment Insurance Agency
                       3030 W. Grand Blvd., Ste. 9-600
                       Detroit, MI 48202


                       Midland Credit Management
                       PO Box 2037
                       Warren, MI 48090




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                       Navient
                       Attn: Bankruptcy
                       Po Box 9500
                       Wilkes-Barre, PA 18773


                       Navient Solutions LLC on behalf of
                       Michigan Guaranty Agency
                       c/o ECMC
                       PO Box 16358
                       Saint Paul, MN 55116


                       Northpointe Pediatrics
                       30061 Schoenherr Rd. # A
                       Warren, MI 48088


                       PennCredit Corporation
                       2800 Commerce Drive
                       Harrisburg, PA 17110


                       Physicians to Children
                       470 Taylor Rd
                       Ste 210
                       Montgomery, AL 36117-3532


                       PNC Bank
                       Attn Bankruptcy Dept
                       PO Box 489909
                       Charlotte, NC 28269-5329


                       Portfolio Recovery Associates, LLC
                       Attn: Bankruptcy
                       120 Corporate Boulevard
                       Norfolk, VA 23502


                       Premier Bankcard, LLC
                       Jefferson Capital Systems LLC Assignee
                       PO Box 7999
                       Saint Cloud, MN 56302-9617


                       Professional Recovery Inc
                       7319 West Jefferson Blvd
                       Fort Wayne, IN 46804-6237


                       Progressive Leasing
                       256 West Data Drive
                       Draper, UT 84020

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                       Sallie Mae, Inc
                       Attn: Bankruptcy
                       Po Box 9500
                       Wilkes Barre, PA 18773


                       Spire
                       PO Box 2224
                       Birmingham, AL 35246-0022


                       Sterling Landing Apartments
                       34792 Oceanview Dr
                       Sterling Heights, MI 48312


                       Sturbridge Commons LP
                       c/o Darby Law Firm LLC
                       PO Box 3905
                       Montgomery, AL 36109


                       Surge Card
                       Cardholder Services
                       PO Box 3220
                       Buffalo, NY 14240


                       T-Mobile Bankruptcy Team
                       PO Box 53410
                       Bellevue, WA 98015


                       The Huntington National Bank
                       PO Box 1558
                       Columbus, OH 43216


                       Universal Utilities
                       PO Box 190539
                       Burton, MI 48519-0539


                       Verizon
                       by American InfoSource as agent
                       PO Box 44757
                       Houston, TX 77210-4457


                       Verizon Wireless
                       Attn: Bankruptcy
                       500 Technology Dr, Ste 599
                       Weldon Springs, MO 63304



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                       WOW Business
                       PO Box 4350
                       Carol Stream, IL 60197


                       Xfinity
                       41112 Concept Dr
                       Plymouth, MI 48170-4253




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